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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                   4:11CR3032
                                             )
              v.                             )
                                             )        MEMORANDUM AND ORDER
ADELFO JUNIOR SOTO,                          )
                                             )
                     Defendant.              )

       The defendant has moved to continue the trial currently set for June 6, 2011, (filing
no. 44), because the parties need additional time to determine if this case will be resolved
by a guilty plea or a trial. The Court finds the motion should be granted.

       IT IS ORDERED:

       1)     Defendant’s motion to continue, (filing no. 44), is granted.

       2)     The trial of this case is set to commence before the Honorable Richard G.
              Kopf at 9:00 a.m. on July 25, 2011, or as soon thereafter as the case may be
              called, for a duration of four (4) trial days, in Courtroom 1, United States
              Courthouse, Lincoln, Nebraska. Jury selection will be held at commencement
              of trial.

       3)     Based upon the showing set forth in the defendant’s motion and the
              representations of counsel for the parties, the Court further finds that the ends
              of justice will be served by continuing the trial; and that the purposes served
              by continuing the trial date in this case outweigh the interest of the defendant
              and the public in a speedy trial. Accordingly, the time between today’s date
              and July 25, 2011 shall be excluded for speedy trial calculation purposes. 18
              U.S.C. § 3161(h)(7)(A).

              May 24, 2011                        BY THE COURT:

                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
